                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR06-4030-MWB
 vs.                                          ORDER ACCEPTING MAGISTRATE
                                                   JUDGE’S REPORT AND
 JASON DERBY,
                                              RECOMMENDATION REGARDING
               Defendant.                       DEFENDANT’S GUILTY PLEA
                                ____________________

                      I. INTRODUCTION AND BACKGROUND
       On June 21, 2006, a second superseding indictment was returned against defendant
Jason Derby, charging defendant with conspiring to distribute and possess with intent to
distribute 1000 kilograms or more of marijuana, cocaine, methamphetamine and anabolic
steroids, in violation of 21 U.S.C. §§ 841(b)(1)(A) and 846. On July 25, 2006, defendant
appeared before United States Magistrate Judge Paul A. Zoss and entered a plea of guilty
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to Count 2 of the second superseding indictment.       On this same date, Judge Zoss filed a
Report and Recommendation in which he recommends that defendant’s guilty plea be
accepted. No objections to Judge Zoss’s Report and Recommendation were filed. The
court, therefore, undertakes the necessary review of Judge Zoss’s recommendation to


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         The court takes judicial notice of the fact that the Report and Recommendation
contains a scrivener’s error, stating that defendant was pleading guilty to Count 1 of the
second superseding indictment when, in actuality, he pleaded guilty to Count 2 of the
second superseding indictment. The court notes that defendant was not charged in Count
1 of the second superseding indictment, but only in Count 2, and that the clerk’s minutes
of the change of plea hearing indicate that defendant pleaded guilty to Count 2 of the
second superseding indictment. Moreover, defendant’s plea agreement indicates that he
pleaded guilty to Count 2 of the second superseding indictment. Thus, the court concludes
that the citation to Count 1 in the Report and Recommendation was but a scrivener’s error.


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accept defendant’s plea in this case.


                                        II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss’s findings and conclusions that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss’s Report and Recommendation of July 25, 2006,
and accepts defendant’s plea of guilty in this case to Count 2 of the second superseding
indictment.




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  IT IS SO ORDERED.
  DATED this 10th day of August, 2006.


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                                         MARK W. BENNETT
                                         CHIEF JUDGE, U. S. DISTRICT COURT
                                         NORTHERN DISTRICT OF IOWA




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